                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )          NO. 3:13-00097
                                             )          JUDGE SHARP
NICHOLAS ADAM YOUNG [4]                      )


                                        ORDER

       Pending before the Court is Defendant’s Motion to Hold Change of Plea Hearing (Docket

No. 492).

       The motion is GRANTED and the hearing is hereby scheduled for Tuesday, June 17, 2014,

at 2:30 p.m.

       It is so ORDERED.




                                          KEVIN H. SHARP
                                          UNITED STATES DISTRICT JUDGE




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